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                           UNITED STATES DISTRICT COURT
 14                       CENTRAL DISTRICT OF CALIFORNIA
 15                             WESTERN DIVISION
 16
      CANDEE L. MORTON,                        )
 17             Plaintiff,                     ) Case No.: 2:21-cv-02878-RAO
 18                                            )
            vs.                                ) [PROPOSED] JUDGMENT
 19                                            )
 20   KILOLO KIJAKAZI,                         )
      Acting Commissioner of Social            )
 21
      Security,1                               )
 22
                 Defendant.                    )
 23
                                               )
                                               )
 24
 25
      1
 26
       Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9,
      2021. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo
 27   Kijakazi should be substituted, therefore, for Andrew Saul as the defendant in this
 28   suit. No further action need be taken to continue this suit by reason of the last
      sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).


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  1         The Court having approved the parties’ stipulation to remand this case
  2   pursuant to Sentence 4 of 42 U.S.C. § 405(g) for further proceedings consistent
  3   with that stipulation and for entry of judgment for Plaintiff, judgment is hereby
  4   entered for Plaintiff.
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  6
      DATED: October 14, 2021
  7                                   HONORABLE ROZELLA A. OLIVER
                                      UNITED STATES MAGISTRATE JUDGE
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